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FILE§? DESTRICT COURT
IN THE DISTRICT COURT OF STEPHENS COUNTY Steohens County, Okla.

DEC l 1 2014 .

STATE OF OKLAHOMA

JANET MILLER, individually, and as
Wife and next of kin of GEORGE MILLER,
deceased,

COURT CLERK

Plaintiff,

CaseNo.: C;“ \\/i. `\/`\O\ 6

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)
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v. )
)
TRAVELERS, a/k/a )
THE TRAVELERS INDEMNITY )
COMPANY, a/k/a TRAVELERS )
INSURANCE, a/k/a )
TRAVELERS INSURANCE COMPANY, )
And ST. PAUL FIRE & MARINE )
INSURANCE COMPANY, )
SUPERIOR WELL SERVICES, LTD, )
JOHN DOE 1, an Individual, and JOHN )
DOE 2, a Commercial Enterprise. )
)
Defendants. )
P_ET__I_TLQE
COMES NOW the Plaintiff, Janet Miller, individually, and as wife and next of kin of
George Miller, deceased, and for her causes of action against Defendants, Travelers, a/k/a The
Travelers Indemnity Company, a/k/a Travelers Insurance, a/k/a Travelers Insurance
Company, (hereinafter “Travelers”), St. Paul Fire & Marine Insurance Company
(hereinafter “St. Paul”) and Superior Well Services, LTD (hereinafter “Superior”), hereby
alleges and states as follows:
l. That the Plaintiff, Janet Miller, wife and next of kin of Deoedent, George Miller,
is, and all times relevant, was a resident of Stephens County, State of Oklahoma.
2. That the Defendant, Travelers, a/k/a The Travelers Indemnity Company, a/k/a

Travelers Insurance, a/k/a Travelers Insurance Cornpany, is incorporated under the laws of`the

State of Connecticut and is licensed to and does conduct business in the State of Oklahorna.

 

 

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3. That the Defendant, St. Paul Fire & Marine lnsurance Company, is incorporated
under the laws of the State of Minnesota and is licensed to and does conduct business in the State
of Oklahoma.

4. That the Defendant, Superior Well Services, LTD, is incorporated under the laws
of the State of Pennsylvania and is licensed to and does conduct business in the State of
Oklahoma.

5. That Defendant, John Doe l, individually, is or may be at all times relevant a.
resident of Stephens County, State of Oklahoma.

6. That Defendant, John Doe 2, is or may be a commercial enterprise and at all times
relevant is and was operating in the State of Ol<lahoma. l

7. The events which give rise to the suit occurred in Stephens County, Oklahoma.

8. Venue is proper under 12 O.S. §§ 137, 187. d

FIRST CAUSE OF ACTION

9. That on or about the 24‘h day of December, 2009, in Stephens County, Oklahoma,
decedent George Miller was driving a vehicle that Defendants, Travelers and/or St. Paul, had in
force and effect a policy of automobile insurance, Policy Number VK04206580. Said policy
provided coverage for Decedent, George Miller.`

lO. l That Decedent’s employer, Superior, owned and insured the vehicle Decedent
was operating the 24th day of December, 2009.

ll. That Decedent had the exclusive permission of his employer, Superior, to operate
said vehicle

12. Decedent George Miller was on his way home and driving in blizzard conditions,

when he stopped on Highway 29 near Marlow, Oklahoma to assist a stranded motorist who had

 

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been involved in an accident Mr. Miller was struck and killed by another motorist, Chester
Foster.

13. That Defendant, John Doe l, may have had a role in providing, maintaining, and
insuring the vehicle driven by decedent, George Miller.

14. That Defendant, John Doe 2, may have had a role in providing, maintaining, and
insuring the vehicle driven by decedent, George Miller.

15 . Upon information and belief, Plaintiff`s previous counsel sent a letter of
representation to Defendants, and at that time made a claim for uninsured/underinsured motorist
(UM/UIM) benefits and/or medical payments coverage. According to correspondence received
from Defendants, Defendants refused and continue to refuse to pay the policy benefits under the
uninsured/underinsured motorist coverage

16. As an insured, Decedent is entitled to timely payment of policy benefits including,
but not limited to, uninsured/underinsured motorist coverage

l7. Defendants, and each of them, have a duty to deal fairly and in good faith with
Plaintiff and Decedent and have unreasonably failed to deal fairly and in good faith with their
own insured. Defendants failed to fully and reasonably investigate the facts of the accident

18. As a result of Defendants’ failure to deal fairly and in good faith with Plaintiff,
Plaintiff has suffered damages, including, but not limited to mental anguish, emotional distress,
and other further damages that the court and jury may award potentially in excess of $75,000.00.

l9. The actions of Defendants, and each of them, during the handling of Plaintiff’ s
claim demonstrate a reckless disregard for their insured, as they intentionally, and with malice,

breached their duty to deal fairly and in good faith. The actions of Defendants were intentional,

 

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malicious and consistent with an overall collective corporate goal of increasing profits through
the systematic reduction or avoidance of claims Plaintiff therefore, seeks punitive damages

2(). As a result of Defendants’ negligence, Plaintiff has suffered and continues to
suffer damages in an amount potentially in excess of $75,000.00.

WHEREFORE, Plaintiff prays for judgment against the Defendants, and each of them, in
an amount potentially in excess of $75,000.00 for compensatory damages and punitive damages,
together with attorney’s fees, costs of this action, interest, and for such other relief as the court
may deem just and proper.

AT'I`ORNEYS' LIEN CLAIMED Respectfully Submitted,

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Homsey BA #4339
ATT EY F PLAINTIFF

 

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